           Case 2:15-cv-00543-RSL Document 217 Filed 04/24/23 Page 1 of 4




 1                                                        The Honorable Robert S. Lasnik
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 8                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE

10   SWINOMISH INDIAN TRIBAL
     COMMUNITY, a federally recognized Indian
11   Tribe,
                                                   NO. 2:15-cv-00543-RSL
12                      Plaintiff,
                                                   JOINT CASE MANAGMENT
13         v.                                      REPORT AND PROPOSED ORDER

14   BNSF RAILWAY COMPANY, a Delaware
     corporation,
15
                        Defendant.
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                                                               TOUSLEY BRAIN STEPHENS PLLC
                                                                   1200 Fifth Avenue, Suite 1700
     JOINT STATUS REPORT (2:15-cv-00543-RSL) - 1                     Seattle, Washington 98101
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             Case 2:15-cv-00543-RSL Document 217 Filed 04/24/23 Page 2 of 4




 1           Pursuant to the Court’s Memorandum of Decision entered March 27, 2023, (Dkt. No.
 2   216), the parties hereby submit the following proposed case management schedule for the
 3   Phase 2 trial.
 4           Parties’ Proposed Case Schedule
 5           The Parties have conferred regarding an appropriate schedule for the liability phase of
 6   this case:
 7    BNSF Motion to Compel Arbitration:                                   May 12, 2023
 8    Tribe’s Response to Motion to Compel:                                June 2, 2023
 9    BNSF Reply Motion to Compel:                                         June 16, 2023
10    Document Exchange Deadline:                                          August 18, 2023
11    Completion of Fact Discovery:                                        October 6, 2023
12    Primary Expert Witness Disclosures:                                  December 15, 2023
13
      Rebuttal Expert Witness Disclosures:                                 January 26, 2023
14
      Completion of Expert Discovery:                                      February 16, 2024
15
      Mediation to be Initiated By                                         January 26, 2024
16
      Deadline for Filing Dispositive Motions and Daubert Motions: March 14, 2024
17                                                                 On or after
      Trial                                                        May 20, 2024
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           Case 2:15-cv-00543-RSL Document 217 Filed 04/24/23 Page 3 of 4




 1         DATED this 24th day of April, 2023.
 2

 3   TOUSLEY BRAIN STEPHENS PLLC                 PACIFICA LAW GROUP LLP

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              Case 2:15-cv-00543-RSL Document 217 Filed 04/24/23 Page 4 of 4




 1            PURSUANT TO THE PARTIES’ STIPULATION, THE COURT ENTERS the

 2   proposed case schedule for Phase 2 of this case as follows:

 3
      BNSF Motion to Compel Arbitration:                                  May 12, 2023
 4
      Tribe’s Response to Motion to Compel:                               June 2, 2023
 5
      BNSF Reply Motion to Compel:                                        June 16, 2023
 6
      Document Exchange Deadline:                                         August 18, 2023
 7
      Completion of Fact Discovery:                                       October 6, 2023
 8
      Primary Expert Witness Disclosures:                                 December 15, 2023
 9
      Rebuttal Expert Witness Disclosures:                                January 26, 2023
10
      Completion of Expert Discovery:                                     February 16, 2024
11
      Mediation to be Initiated By                                        January 26, 2024
12
      Deadline for Filing Dispositive Motions and Daubert Motions: March 14, 2024
13
      Trial
14

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16            Dated this ______ day of _______________, 2023

17
                                                  _________________________
18                                                Robert S. Lasnik
19                                                United States District Court Judge
     4817-4449-8875, v. 3

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